                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


POLAR EXPRESS SCHOOL BUS,
INC., and LAKEVIEW BUS
LINES, INC.,

                          Plaintiffs,                       Case No. 16 C 5769

              v.                                    Judge Harry D. Leinenweber

NAVISTAR, INC., NAVISTAR
INTERNATIONAL CORP., and IC
BUS, LLC,

                          Defendants.


                          MEMORANDUM OPINION AND ORDER

      Before       the   Court    is   the    Defendants’      Motion    to   Dismiss   the

Plaintiffs’ Complaint [ECF No. 13].                  For the reasons stated herein,

the   Court    grants    the     Motion     and    dismisses   the   Plaintiffs’   claims

without prejudice.          If the Plaintiffs do not amend their Complaint

within twenty-one (21) days from the date of this Memorandum Opinion

and Order, the dismissal will convert automatically into a dismissal

with prejudice.

                                       I.    BACKGROUND

      The Plaintiffs are an Illinois school bus company, Polar Express

School Bus (“Polar”), and a second company that leased buses from

Polar, Lakeview Bus Lines (“Lakeview”).                   The Plaintiffs claim that the

Defendants,        Navistar,      Inc.       and    its     affiliates    (collectively,

“Navistar”) manufactured and sold buses to Polar knowing that the

buses contained defective parts.
       Polar alleges that from 2007 to 2009, it purchased from Navistar

approximately        40    buses     containing      engines      with    defective    emissions

control technology and defective brake systems.                           The Plaintiffs’ only

claims under federal law are for civil violations of the Racketeer

Influenced       and      Corrupt    Organizations        Act    (“RICO”),     see,   18    U.S.C.

§§ 1962(c) and 1962(b), perpetrated through acts of mail and wire

fraud.         According     to     the    Complaint,      Navistar       committed   the    fraud

through an enterprise that included Navistar’s authorized dealers, who

sold     the     defective        vehicles,        and     Navistar’s       authorized      repair

facilities, who serviced the vehicles.                          The Plaintiffs also bring

claims for fraud under Illinois state law.

       According to the allegations, the defects in the engines arise

from an “exhaust gas recirculation” system that failed to meet U.S.

Environmental          Protection         Agency    (“EPA”)       guidelines.         Navistar’s

efforts to redesign the engines to meet the applicable EPA standards

actually led to worse performance, Plaintiffs claim, which in turn led

to “control failures and other malfunctions.”

       Ostensibly for support, the Plaintiffs highlight a civil action

initiated       by   the     U.S.    Securities      and       Exchange    Commission      (“SEC”)

against Navistar, in which the SEC claims that Navistar made several

misleading public statements to investors from the years 2010 to 2012,

violating the federal securities laws.                         Plaintiffs believe that when

the    SEC      alleges      Navistar       misled       its     investors     through      public

statements,          it     means,        “by   implication,”         that     Navistar       also

deliberately deceived its customers.                     See, Compl. ¶ 11.

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                                           II. DISCUSSION

              A.    COUNT II – RICO CLAIM UNDER 18 U.S.C. § 1962(c)

       The Court first addresses Count II, the Plaintiffs’ RICO claim

under Section 1962(c).              That section “makes it unlawful for any person

employed   by       or    associated       with    any       enterprise      engaged      in,     or    the

activities of which affect, interstate or foreign commerce, to conduct

or   participate,          directly        or   indirectly,          in    the    conduct       of     such

enterprise’s             affairs      through            a      pattern          of      racketeering

activity. . . .”           Rao v. BP Products North America, 589 F.3d 389, 399

(7th   Cir.     2009)          (internal    quotation         and    citation         omitted).         The

Plaintiffs therefore must allege facts showing “(1) conduct (2) of an

enterprise (3) through a pattern (4) of racketeering activity.”                                      Id.

       In addition, because the Plaintiffs’ claims of racketeering are

premised on mail and wire fraud (“predicate acts” under RICO), the

heightened pleading standard of Federal Rule of Civil Procedure 9(b)

applies.            The        Plaintiffs       must      state       with       particularity          the

circumstances,           including       the    “who,        what,    when,      where,    and       how,”

underlying the fraud.              DiLeo v. Ernst & Young, 901 F.2d 624, 627 (7th

Cir. 1990).          The Defendants argue, and the Court agrees, that the

Plaintiffs’ Complaint fails to meet the Rule 9(b) threshold.

       “‘An act of wire fraud requires a showing that (1) Defendants

participated        in     a    scheme     to   defraud;        (2)       Defendants      intended         to

defraud;      and        (3)    Defendants        used       wires    in     furtherance        of      the

fraudulent scheme.’”               Triumph Packaging Group v. Ward, 877 F.Supp.2d

629, 643 (N.D. Ill. 2012) (quoting Kaye v. D’Amato, 357 Fed. Appx.

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706, 710 (7th Cir. 2009)).            Mail fraud requires the same, except as to

the third element, which requires the defendant to have used the mails

in furtherance of the fraud.             See, id. (citing United States v. Boone,

628 F.3d 927, 933 (7th Cir. 2010)).                    A “scheme to defraud,” in turn,

requires      “a   false    statement    or        material   misrepresentation,         or   the

concealment of a material fact.”                     Williams v. Aztar Indiana Gaming

Corp., 351 F.3d 294, 299 (7th Cir. 2003).

        The     Defendants      point        out     that     many    of    their      supposed

misrepresentations were made well after Polar purchased any buses from

Navistar      dealers.       That’s     an    obvious       problem   for   the      Plaintiffs,

because       there   is   no   way   they     could    have    relied      on   a    fraudulent

statement from, say, 2012, when they purchased or leased a bus in

2009.     Indeed, the SEC action that the Plaintiffs highlight deals with

alleged misrepresentations and omissions all occurring from 2010 to

2012.     The SEC portrays Navistar as having difficulty developing an

engine that would meet impending EPA emissions standards; as a result,

the SEC says, Navistar covered up its problems through misleading

statements to its investors in violation of various provisions of the

federal securities laws.              See, Civil Docket Case No. 1:16-cv-03885,

ECF No 1.       Absent from the SEC complaint are any allegations regarding

misrepresentations to Navistar’s investors prior to 2010, as well as

any   allegations      of    misrepresentation          to    Navistar’s     customers.       In

other words, it is hard to see how the SEC’s 2016 suit is relevant to

the present matter.




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        Regardless, the Plaintiffs are not free to piggy-back on an SEC

action.       They must state allegations in their own Complaint that would

form a plausible claim.           In an effort to do so, the Plaintiffs attach

several exhibits that they believe contain fraudulent statements.                             For

example, they provide several Form 8-Ks (forms Navistar was required

to     file     with     the     SEC     to    disclose         various       business-related

developments) from the relevant time period:                           2006, 2007 and 2008.

See, Compl. Exs. A, C, D and E.                       These disclosures from Navistar

contain optimistic predictions about its engine development efforts –

that    is     all.      They    do    not    by   themselves         amount     to    deliberate

misrepresentations.

        The Plaintiffs counter that their RICO claim is not based on a

misrepresentation about Navistar’s engines, but instead based on a

failure to disclose the known defects in the engines.                             A failure to

disclose does not automatically constitute fraud, but it may amount to

fraud    if    the     failure   is    accompanied         by   “acts    of     concealment    or

affirmative misrepresentations.”               United States v. Stephens, 421 F.3d

503, 507 (7th Cir. 2005).              But the Plaintiffs’ Complaint is also short

on any allegations of concealment that aren’t conclusory.

        In the section of their Complaint describing the Defendants’ wire

and     mail    fraud,     the    Plaintiffs       include        a     litany    of    supposed

misrepresentations by Navistar, but they do not explain how Navistar

actively concealed defects.             Again and again, the implication from the

Plaintiffs’      Complaint       and    briefing      is   that       because    Navistar   made

several public statements about their engines’ quality that turned out

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to be wrong, they must have known it all along.                            If that were enough

to meet Rule 9(b)’s requirement of pleading fraud with particularity,

it is hard to imagine a claim that wouldn’t meet the threshold.

        It’s true that the Plaintiffs allege (in conclusory fashion) that

Navistar    knew    of     the    defects,          but    conclusory      allegations      are     not

sufficient    to    state        any    claim       after       Twombly   and   Iqbal,   and       such

allegations        certainly       fail        to     meet        Rule    9(b)’s    particularity

requirement.          (Examples           of       such     conclusory         statements     appear

throughout the Complaint, but in particular, see, Compl. ¶¶ 96-98.)

The   Plaintiffs     have    provided          a    critical       lack   of    detail   about      the

fraudulent concealment – substantially less detail than, for example,

a similar RICO complaint dismissed in In re Testosterone Replacement

Therapy, 159 F.Supp.3d 898 (N.D. Ill. 2016).

        The problem of lack of detail is magnified when considering the

entire RICO enterprise and not just Navistar’s statements.                                     For a

successful    RICO       claim,        there    must       be    allegations     suggesting        that

Navistar worked in concert with its dealers and service facilities to

conceal defects, and to run up the costs for customers seeking repairs

and replacement parts.                 More precisely, the Plaintiffs must allege

facts that would establish three things:                            “a purpose, relationships

among those associated with the enterprise, and longevity sufficient

to permit these associates to pursue the enterprise’s purpose.”                                    Rao,

589 F.3d at 399.           There must also be allegations suggesting that the

enterprise then engaged in a pattern of racketeering activity:                                       in

other     words,     the     predicate             acts     of     the    enterprise        must     be

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“sufficiently related to constitute a pattern.” Id.                              Aside from more

conclusory statements, the Complaint contains nothing suggesting any

coordination between the Defendants.

       The relationship between the different Defendants in the supposed

enterprise      is    clear    enough:           manufacturer,         dealers,        and    licensed

service      centers.         However,       there       are    no      allegations          plausibly

suggesting      that      their     activities         are    related     in     any    way     to     an

overarching      scheme       to    defraud.        The      Complaint     alleges       that       when

Lakeview sent its buses to be serviced, the service centers knew the

engines were defective but never revealed this fact, and so profited

from   the     continued      (and    ultimately        fruitless)       repairs.             But   that

statement does not suggest that all Defendants shared in the profits

of the same scheme; the service centers may have just been the happy

beneficiaries        of   customers       who    had    bought    a     shoddy    product.            Cf.

Guaranteed Rate, Inc. v. Barr, 912 F.Supp.2d 671, 687 (N.D. Ill. 2012)

(affirming      dismissal      of    a    RICO    claim       because    complaint           failed    to

assert that “RICO Defendants had any interest in the outcome of the

alleged scheme beyond their own individual interests”).                                There are no

claims    of    meetings       or    conversations           between     the     Defendants,          for

example, suggesting they were conspiring to rip off their customers;

thus   even     assuming      that       Navistar      knew    about     the     defects       in     the

engines, it is wholly unclear how the dealers and service centers

would have knowledge of the defects as well.                           Cf. In Re Testosterone

Therapy, 159 F.Supp.3d at 921 (fraudulent concealment claim failed to




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meet Rule 9(b)’s threshold in part because of a lack of “details about

meetings or communications” related to the concealment).

       The Defendants make one other material argument for dismissal:

that   the   RICO    claims       are       barred       by   the   applicable    statute     of

limitations.      The applicable period for RICO claims is four years, and

the period begins to run when the plaintiff knows or should know that

that he has been injured by the defendant.                      See, Cancer Foundation v.

Cerberus Capital Mgmt., 559 F.3d 671, 674 (7th Cir. 2009).                          Here, the

Defendants point out that the Plaintiffs arguably should have known

about the injury (the purchase of the defective engines and subsequent

costs) by as early as 2007, when they began to notice problems.                              The

Defendants may have a strong argument, but the Plaintiffs have not

pled themselves out of court on this issue.                         More facts are required

to determine conclusively when the Plaintiffs knew of their injury and

when they knew the Defendants were the parties responsible.                            As the

Plaintiffs rightly point out, they are not required to plead facts

that   anticipate     and    negate         the    Defendants’       affirmative    defenses.

Independent Trust Corp. v. Stewart Information Services, 665 F.3d 930,

935 (7th Cir. 2012).          The statute of limitations is not a basis for

dismissal at this juncture, although if the Plaintiffs attempt to

amend the Complaint, they should be mindful of the issue.

             B.     COUNT I – RICO CLAIM UNDER 18 U.S.C. 1962(b)

       Section    1962(b)     prohibits           “any    person    through   a    pattern    of

racketeering      activity    .    .    .    to    acquire     or    maintain,    directly    or

indirectly, any interest in or control of any enterprise which is

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engaged in, or the activities of which affect, interstate or foreign

commerce.”     The primary difference between § 1962(b) and § 1962(c) is

that § 1962(c) focuses on prohibition of racketeering activity, while

§ 1962(b) focuses on the prohibition of any interest in or control

over the racketeering enterprise.             But that difference is immaterial

for purposes of the motion to dismiss.

        The Plaintiffs’ claim under Section 1962(b) contains the same

deficiencies as their claim under § 1962(c).                Section 1962(b), like

§ 1962(c), still requires allegations that would support “a pattern of

racketeering activity,” or in other words, at least two predicate

acts.     See, Starfish Inv. Corp. v. Hansen, 370 F.Supp.2d 759, 780

(N.D. Ill. 2005).           As the Court has explained, the allegations to

support with particularity a plausible claim for underlying mail and

wire fraud are insufficient.             Section 1962(b), like § 1962(c), also

requires facts that would demonstrate an “enterprise,” and as the

Court has already pointed out, the Complaint is short on such facts.

The claim under Section 1962(b) fails.

                                  III.    CONCLUSION

        For the reasons stated herein, the Court grants the Defendants’

Motion to Dismiss [ECF No. 13], dismissing Counts I and II of the

Plaintiffs’ Complaint without prejudice.               Because the Plaintiff has

failed to state a federal claim, the Court relinquishes supplemental

jurisdiction over Count III, the Illinois fraud claim.                      28 U.S.C.

§ 1367(c)(3); RWJ Mgt. Co., Inc. v. BP Prods. N. Am. Inc., 672 F.3d

476,    478   (7th   Cir.    2012).      If   the   Plaintiffs   do   not   amend   the

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Complaint within twenty-one (21) days from the date of this Memorandum

Opinion and Order, this dismissal will convert automatically into a

dismissal with prejudice.



IT IS SO ORDERED.




                                     Harry D. Leinenweber, Judge
                                     United States District Court

Dated: December 16, 2016




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